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1700 G Street NW,
Washington, DC 20552
May 21, 2019
Via ECF
The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:     CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Judge Vanaskie:
        The Bureau submits this letter in response to Special Master Report #9 (“Report #9”), which
directs the Bureau to: (1) identify by Supplemental Privilege Log number and Bates Number from
Category 75 one complete email thread with the subject line, “Call on JSOP,” one complete
email thread with the subject line, “UPDATE: Reconciled ED-TREAS-CFPB Joint Statement on
SLS,” and one complete email thread with the subject line, “Final Joint Statement of Principles on
Student Loan Servicing”; and (2) inform Your Honor whether Document 208 on the Bureau’s
February 15, 2019 Supplemental Privilege Log (CFPB-NAV-0057313) is a draft of remarks given
by former Director Cordray regarding the Runcie Memorandum or a verbatim recitation.

   1. Category 75 emails

        With respect to each of the three subject lines identified in Report #9, there is no single
document that contains all of the individual emails with that subject line. All of the email strings in
Category 75 are part of the same thread that originates from a common individual email. Starting
from that common individual email, the thread breaks off into multiple branches, each of which in
turn breaks off into multiple subbranches. Some of those subbranches then break off into additional
subranches. Thus, there are many distinct pathways, each with a unique individual email as its
endpoint. For example, Document Nos. 185 (CFPB-NAV-0057344) and 187 (CFPB-NAV-
0057345) are email strings that share 9 individual emails in common, with only the most recent
individual email differing between the two strings. Because the most recent individual email is
distinct in each of the two strings, and they both have “UPDATE: Reconciled ED-TREAS-CFPB
Joint Statement on SLS” as their subject line, there is no single document that captures both of those
emails. 1

         Nonetheless, in Tables 1-3 below, the Bureau has identified the inclusive email strings in
Category 75 that reflect a unique pathway in the thread. That is, each of these email strings contains
at least one individual email that is not reflected in any of the other email strings listed below.
Further, all other email strings in Category 75 (i.e., those not listed below) are fully subsumed in
one or more of the email strings below. The Bureau has grouped these email strings by subject line.

       1
          There are many other examples. For example, Document Nos. 197 (CFPB-NAV-0057355)
and 235 (CFPB-NAV-0057425) share 11 individual emails in common, but diverge after the email
sent at 4:58 pm on September 9, 2015. The unique individual emails all have “Call on JSOP” as
their subject line.
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Every individual email with the subject line “UPDATE: Reconciled ED-TREAS-CFPB Joint
Statement on SLS” is included in at least one of the documents listed in Table 1. Every individual
email with the subject line “Call on JSOP” is included in at least one of the documents listed in
Table 2. Every individual email with the subject line “Final Joint Statement of Principles on
Student Loan Servicing” is included in at least one of the documents listed in Table 3.


             Table 1: Set of email strings containing all individual emails with subject line
              “UPDATE: Reconciled ED-TREAS-CFPB Joint Statement on SLS”


                            Document No. on
                            Bureau’s 2/15/19    Bates number
                            Supp. Log
                            105                 CFPB-NAV-0057170
                            106                 CFPB-NAV-0057171
                            108                 CFPB-NAV-0057173
                            136                 CFPB-NAV-0057257
                            182                 CFPB-NAV-0057340
                            185                 CFPB-NAV-0057344
                            187                 CFPB-NAV-0057345
                            189                 CFPB-NAV-0057347
                            228                 CFPB-NAV-0057418
                            229                 CFPB-NAV-0057419
                            233                 CFPB-NAV-0057423
                            246                 CFPB-NAV-0057441
                            252                 CFPB-NAV-0057447



                  Table 2: Set of email strings containing all individual emails
                                with subject line “Call on JSOP”

                            Document No. on
                            Bureau’s 2/15/19    Bates number
                            Supp. Log
                            155                 CFPB-NAV-0057276
                            159                 CFPB-NAV-0057280
                            167                 CFPB-NAV-0057292
                            191                 CFPB-NAV-0057349
                            200                 CFPB-NAV-0057358
                            203                 CFPB-NAV-0057361
                            207                 CFPB-NAV-0057365
                            209                 CFPB-NAV-0057367
                            235                 CFPB-NAV-0057425



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                             237                  CFPB-NAV-0057427
                             240                  CFPB-NAV-0057431
                             241                  CFPB-NAV-0057432
                             261                  CFPB-NAV-0057456
                             263                  CFPB-NAV-0057458
                             267                  CFPB-NAV-0057462
                             197                  CFPB-NAV-0057355



                 Table 3: Set of email strings containing all individual emails
       with subject line “Final Joint Statement of Principles on Student Loan Servicing”


                             Document No. on
                             Bureau’s 2/15/19     Bates number
                             Supp. Log
                             214                  CFPB-NAV-0057377
                             219                  CFPB-NAV-0057392
                             220                  CFPB-NAV-0057393




        In addition, for each of the three subject lines, the Bureau has identified the set of documents
that, across the set, includes at least one instance of every redacted individual email with that
subject line.

 Table 4: Set of email strings containing all redacted individual emails with each subject line

              Subject Line                             Documents 2
              “UPDATE: Reconciled ED-                  105 (CFPB-NAV-0057170)
              TREAS-CFPB Joint Statement on            108 (CFPB-NAV-0057173)
              SLS”                                     228 (CFPB-NAV-0057418)
                                                       233 (CFPB-NAV-0057423)
                                                       252 (CFPB-NAV-0057447)
              “Call on JSOP”                           197 (CFPB-NAV-0057355)
                                                       207 (CFPB-NAV-0057365)
                                                       235 (CFPB-NAV-0057425)
                                                       237 (CFPB-NAV-0057427)
                                                       240 (CFPB-NAV-0057431)
                                                       241 (CFPB-NAV-0057432)
                                                       261 (CFPB-NAV-0057456)
                                                       263 (CFPB-NAV-0057458)

       2
        The numbers in this column refer to the document number and corresponding bates
number on the Bureau’s February 15, 2019 supplemental privilege log.

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             “Final Joint Statement of Principles   220 (CFPB-NAV-0057393)
             on Student Loan Servicing”


   2. Draft Cordray Remarks

       Document 208 on the Bureau’s February 15, 2019 Supplemental Privilege Log (CFPB-
NAV-0057313) is a draft of remarks given by former Director Cordray regarding the Runcie
Memorandum. The final version, which is different than the draft, is publicly available at the
following web address: https://www.consumerfinance.gov/about-us/newsroom/prepared-remarks-
cfpb-director-richard-cordray-student-loan-servicing-press-call/.
       If Your Honor has any questions regarding the foregoing, the Bureau would welcome the
opportunity to address those questions at a forthcoming teleconference or in writing.


                                                    Respectfully submitted,
                                                    /s/ Nick Jabbour




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